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__________________________________________________________________
                                             SO ORDERED,



                                             Judge Katharine M. Samson
                                             United States Bankruptcy Judge
                                             Date Signed: May 9, 2018

            The Order of the Court is set forth below. The docket reflects the date entered.
__________________________________________________________________

                  IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE SOUTHERN DISTRICT OF MISSISSIPPI

IN RE: MISSISSIPPI PHOSPHATES                                           CASE NO. 14-51667-KMS
       CORPORATION

         DEBTOR                                                                    CHAPTER 11

MISSISSIPPI PHOSPHATES                                                               PLAINTIFF
CORPORATION LIQUIDATING TRUST
(MPCLT), EDWIN N. ORDWAY JR.,
Managing Director, BERKLEY RESEARCH
GROUP LLC, in his capacity as MPCLT
TRUSTEE OF THE MPCLT TRUST

V.                                                                      ADV. NO. 16-06052-KMS

ENVIRONMENTAL ACID                                                                 DEFENDANT
SOLUTIONS LLC


                                     FINAL JUDGMENT

        Consistent with the Order Granting Motion for Summary Judgment (ECF

No. 58) entered on May 9, 2018,

        IT IS HEREBY ORDERED AND ADJUDGED that final judgment is entered in favor

of Plaintiff Mississippi Phosphates Corporation Liquidating Trust (MPCLT), Edwin N. Ordway

Jr., Managing Director, Berkley Research Group LLC, in his capacity as MPCLT Trustee of the
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MPCLT Trust, against Defendant Environmental Acid Solutions LLC in the amount of

$266,000.00, plus interest at the legal rate from this date, together with costs.

                                   ## END OF JUDGMENT ##




                                                  2
